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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7       IN RE: CATHODE RAY TUBE (CRT)                  MDL No. 1917
                                           ANTITRUST LITIGATION
                                   8                                                     Case No. C-07-5944 JST

                                   9                                                     ORDER TO SHOW CAUSE RE:
                                           This Order Relates To:                        HEARING ON CHUNGHWA’S
                                  10                                                     MOTION FOR SUMMARY JUDGMENT
                                                                                         ON DIRECT ACTION PLAINTIFFS’
                                  11       ALL DIRECT ACTION PLAINTIFFS                  STATE LAW CLAIMS
                                  12
Northern District of California
 United States District Court




                                  13             On March 11, 2016, Best Buy Plaintiffs1 and Chunghwa Defendants2 submitted a

                                  14   stipulation and proposed order requesting that the hearing on Chunghwa’s Motion for Summary

                                  15   Judgment on Direct Action Plaintiffs’ State Law Claims on Due Process Grounds (ECF No.

                                  16   2973), currently scheduled for March 28, 2016, be taken off calendar in light of a comprehensive

                                  17   confidential written settlement agreement entered into by those parties. ECF No. 4478.

                                  18   Defendants Thompson and Toshiba joined Chunghwa’s motion. ECF Nos. 3888, 3013. Before

                                  19   the Court removes Chunghwa’s motion from the calendar pursuant to the stipulation, it would like

                                  20   clarification from Thompson and Toshiba as to whether the Court needs to decide the issues

                                  21   presented in the motion as to them, and if so, whether Thompson or Toshiba intend to present oral

                                  22   argument at the March 28th hearing.

                                  23             Accordingly, Defendants Thompson and Toshiba are ORDERED TO SHOW CAUSE

                                  24   whether the Court should (1) decide the motion as to Thomson and Toshiba, and (2) take the

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                                         Best Buy Co., Inc., Best Buy Purchasing LLC, Best Buy Enterprise Services, Inc., Best Buy
                                  28   Stores, L.P., BestBuy.com, L.L.C. and Magnolia Hi-Fi, LLC.
                                       2
                                         Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
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                                   1   motion off calendar. Responses of no more than two pages are due no later than March 18, 2016.

                                   2   There will be no Show Cause Hearing.

                                   3          IT IS SO ORDERED.

                                   4   Dated: March 15, 2016
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                                                                                                   JON S. TIGAR
                                   6                                                         United States District Judge

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Northern District of California
 United States District Court




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